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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION

SECURITIES AND EXCHANGE COMMISSION,

                       Plaintiff,

v.                                        Case No: 8:19-cv-448-T-33CPT
SPARTAN SECURITIES GROUP, LTD.,
ISLAND CAPITAL MANAGEMENT LLC,
CARL E. DILLEY,
MICAH J. ELDRED, and
DAVID D. LOPEZ,
                  Defendants.
____________________________________________

                       NOTICE OF PENDENCY OF OTHER ACTIONS

       In accordance with Local Rule 1.04(d), I certify that the instant action:

_X_    IS              related to pending or closed civil or criminal case(s) previously filed in this
                       Court, or any other Federal or State court, or administrative agency as indicated
                       below:
                       This case is not a successive case pursuant to LR 1.04(a). As indicated in the
                       Commission’s Notice (DE 10), the instant action is related to a pending civil case,
                       SEC v. Daniels, et al., 18-cv-1003-SDM-TGW, previously filed on April 25, 2018
                       in this district. The Commission is not moving to transfer or consolidate the matters
                       pursuant to LR 1.04(b) or (c). Both cases allege that fraudulent steps were taken to
                       “manufacture” shell companies with stock that could be sold on the public market,
                       and the shell companies at issue in the two cases overlap. However, the cases
                       involve different parties, who played different roles in the scheme, and certain
                       violations are charged in each case that are not charged in the
                       other._________________________________________________

____   IS NOT          related to any pending or closed civil or criminal case filed with this Court,
                       Or any other Federal or State court, or administrative agency.

       I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER ACTIONS
upon each party no later than fourteen days after appearance of the party.

Dated: March 7, 2019

Christine Nestor (Fla. Bar No. 597211)
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